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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE                              Case No. 1:20-cv-01996 (DLF)
(NAACP), et al.,

               Plaintiffs,

       vs.

ELISABETH “BETSY” D. DEVOS, in her official
capacity as the United States Secretary of Education,
and the UNITED STATES DEPARTMENT OF
EDUCATION,

               Defendants.



   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                        INJUNCTIVE RELIEF

       This matter having come before the Court on Plaintiffs’ Motion for Preliminary

Injunctive Relief, or, in the alternative, for Summary Judgment [Dkt. No. ___], and this Court

having reviewed the pleadings and heard arguments from counsel, the Court hereby GRANTS

Plaintiffs’ Motion for Preliminary Injunctive Relief.

       The Plaintiffs have satisfied all of the requirements for preliminary injunctive relief. In

particular, the Plaintiffs have demonstrated that they are substantially likely to succeed in

proving that the regulations at issue are invalid under the United States Constitution and the

Administrative Procedure Act, 5 U.S.C. § 500 et seq. Plaintiffs have demonstrated that, without

relief, they would suffer substantial, irreparable harm and have no adequate remedy at law. The

public interest favors an injunction, as the public interest always favors the enforcement of

constitutional and civil rights, and the Defendants have numerous other means available to

achieve their stated policy goals. Accordingly, the substantive requirements imposed in CARES




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Act Programs; Equitable Services to Students and Teachers in Non-Public Schools, 85 Fed. Reg.

39,479 (July 1, 2020), and 34 C.F.R. § 76.665, are hereby ENJOINED.

       IT IS SO ORDERED.


Dated: ________________                    __________________________
                                                 Hon. Dabney L. Friedrich
                                                 United States District Court Judge




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